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lN rl`l'{E UNI'I`ED STAfl`ES DISTRICT COURT
EAS'I`ERN DlSrl`RICT OF ARKANSAS
PINE BLUFF DlVlSlON

lll\/ll\/IY l\/l()SS and
l\/l()SS l*`/\Rl\/IS, INC. PLAIer`lFFS

v. 5:06-(TV-01()~J1.H

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lNSUR/\NCE C()RP()RA'I`ION Dl'il"liNDAer`

DEFENDAN'I"S REPLY l`O Pl.AlNTlFFS’ RESPONSE
rl`O l\/IOTION FOR SUMl\/IARY PARTIAL JUDGl\/IENT

 

'l`he plaintiffs urge the Court not to "parcel out" one individual act of"questionable conduct",
but rather to view all the acts "as a whole.” The reason that plaintiffs take this position is quite clear.
None of the individual acts alleged by plaintiffs support a finding of bad faith rl`he plaintiffs urge
the (`ourt to gloss over what they call "individual acts” so that the deficiencies in each will he
hidden 'l`o establish their claim of bad faith, the plaintiffs would have the Court to draw inference
upon inference from unrelated and quite distant "facts". While the Court is to draw all reasonable
inferences in favor of plaintiffs the Court is not required to speculate or draw multiple inferences
llitt v. llarsco Cor[g.. 356 l".3d 920 (8‘}‘ Cir. 2()()4). AAIC is not asking the Court to invade the
providence of the jury (as the plaintiffs so clearly warn the Court not to do). Defendant only asks
that the (`ourt examine the undisputed/dcfs and rule on its l\/lotion for Partial Summary Judgment.

’l`he undisputed facts clearly show that summary judgment is proper.

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/\t the outset it should be noted that the plaintiffs continually misstate the relationship
between /\/\l(` and /\SI and its adjusters in their brief. Plaintiffs repeatedly refer to /\Sl as AAIC’s
"general agent". 'l`he plaintiffs omit one key word. ASl is a Managing General /\gent of A/\l(`,
pursuant to the terms ofthe l\/IGA Agreement which has been submitted to the Court under seal. ASI
oiily has those duties, rights and obligations that are set forth in the Agreement. See, l\/lG/\
/\grccmcnt at /\rticlcs ll and lV. Pursuant to the Agreement, /\SI is an independent contractor of
/\/\l(` and may only act within the bounds of its contracted authority. L at Article Xl. para. l\/l. ln
addition, l\/lickey l\/lahon and Van Gibbins are independent contractors of /\Sl. See, l\/lahon
lndependent /\djusters /\greement, para. 2; Gibbins Depo. at pp. 17-18. Plaintiffs would hold AAI(`.
liable for the acts of its independent contractor and even in some instances, the acts of an
independent contractor of an independent contractor of AAIC. As the Court is well aware, a
principal may not be held liable for the tortious acts of its independent contractors. /\.l\/l.l. ((`ivil)
Z()()(), 2()¢), 7()7. l’laintiffs' attempt to impute these acts to AAIC must fail.

'l`he plaintiffs concede that they have not stated a claim of fraudulent misrepresentation
against /\/\l(`. 'l`he plaintiffs admit that no harm was caused by any misstatement Yet they want
to use this conduct as a basis fora bad faith claim. 'I`he problem with plaintiffs’ argument is that the
alleged conduct must constitute bad faith and that bad faith conduct must cause damage in order to
be actionable /\.l\/l.l. (Civil) 2()()(). 406.

Defendant admits that l"orrest Armstrong initially represented the policy to require
mandatory, binding appraisal See, Armstrong Depo. at pp.34v35. Assuming that l"orrest
/\rmstrong`s representation was done with all of the evil intent and ill will that one could muster.

the question arises "What would have been the result`?". 'l`he result would have been that both

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parties` the plaintiffs andAAIC, would have been subject to a binding appraisal process. l\/Ir. l\/loss
might have won or lost the appraisal just as AAIC might have or won or lost. lf l\/lr. l\/loss could
have prcvailed, “dishonest, oppressive or malicious" intent cannot be inferred from the
inisrepresentation.

ln their brief. the plaintiffs argue that the appraisal process itself is biased. ln order to support
their arguinent, the plaintiffs rely on omissions and misstatements of the facts and isolated, ancient
occurrences l"irst, the plaintiffs state that /\/\l(` refused to agree to any umpire unless the proposed
umpire "had worked for an insurance company." What the plaintiffs conveniently forget to mention
is that the parties had agreed to the appointment of a Farm Service Agency employee to act as umpire
for the parties. Van Gibbinsl agreed to the appointment because of the gentleman’s familiarity with
dainagetocotton. Gibbins Depo. at ppi 72-73. After initiallyagreeingto act as umpire, he withdrew
at his superiors' request. /\s Van Gibbins stated in his deposition, he did not agree to (`,harles Guy
and (}ibbs l"erguson because they were not knowledgeable about hail damage to cotton. Gibbins
l)epo. at pp. 71¢74. Van Gibbins also provided names which were not agreed to by l\/lr. l\/loss. /\ll
of these facts are undisputed l\/lr. l\/loss is really arguing that AAlC committed bad faith because
it did not agree to individuals that I_lg nominated to serve as umpire.

'l`he plaintiffs also argue that a previous arbitration with ASI where the award was set aside
is evidence of bad faith;Z 'l`his arbitration occurred over 2() years ago in the State of lllinois. Sec D.

johnson l)epo. at p. l|(); Defendant’s /\nswers to l)laintiff’s Supplemental lnterrogatory No. 4.

 

1l\/lr. Gibbins is an independent contract adjuster who was retained by ASI to act as an
appraiser in this casc. 'l`his is the only time l\/lr. Gibbins worked for /\Sl.

l'l`he admissibility of this evidence is highly questionable

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/\/\l(` was not involved in this claim. flow this old unrelated event involving a different insurance
company evidences bad faith is anyone’s guess. ()ne thing. however. is certain; lt is ll()_t evidence
of bad faith in the case at bar.

Arkansas law is very clear that the failure to investigate a claim does not constitute bad faith.

Reynolds v. Shelter l\/lutual lnsurance Companv, 313 Ark. 145, 852 S.W. 2d 799 (1993). 'l`he

 

plaintiffs do not dispute this statement of the law. lnstead. the plaintiffs attempt to establish bad
faith in the adjusting process through incidents which are unrelated to the case at bar. l"irst, plaintiffs
quote at length from the depositions of Glover l,innet and leff Byrd, two former adjusters of ASI,
regarding comments l)avid lohnson made to them in an unrelated hail claim which occurred in
l\/lississippi (`ounty; /\rkansas. 'l`his claim arose from a storm which occurred in l\/lay of 2()()3q and
the statements were made shortly thereafter l.innert Depo. at pp. 13»14. /\/\l(` was not involved
in the l\/lississippi (`ounty casc. lt_l. 'l`he relevance and the admissibility of these comments aside,
these alleged statements (even if true) do not establiin any act which would constitute bad faith in
the case at bar. /\Sl never contacted the l"Bl regarding this case and l\/lr. l\/loss was never threatened
by or with the l"Bl by /\Sl. I). Johnson Depo. at p. 75. ln addition, the alleged statements were
made over two years prior to the storm that caused damage in the case at bar. Next. the plaintiffs
allege bias by l\/lickey l\/lahon when adjusting thc claim. What is interesting to note is that they do
not dispute thc fact that the claim was adjusted 'l`he law clearly provides that the failure to
investigate the claim is not the sort of affirmative conduct that gives rise to a cause of action for the
tort of bad faith. Reynolds, 313 /\rk. at 149', Richison v. Boatmens /\rkansast lnc.. 64 /\rk. /\pp.

271, f)¢ll S.W. 2d l 12 (1998) ('l`he failure to conduct more than a cursory investigation does not

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constitute bad faith). liven assuming all the inferences argued by plaintiffs are true. the fact still
remains that l\/lickey l\/lahon adjusted the claim and that this does not constitute bad faith.

vl`lie plaintiffs next pursue a personal attack against l)avid Johnson. 'l`he plaintiffs allege that
l)avid Johnson is the l’residcnt and (`li() and part owner of ASl, lnc. 'l`his fact is admitted
l)laintiffs also argue that l)avid Johnson signed a guaranty agreement with A/\IC. l)efendant also
admits this fact. l)rawing all inferences in favor of the plaintiffs from these two facts does not
establiin any affirmative act of miscondtictl /\t most, the facts may show that l)avid Johnson has
a financial interest in /\Sl` but they do not establish that he didanything which would constitute bad
faitli.

'l`he final isolated "incident" which the plaintiffs argue is an attack on Van Gibbins. \/an
(}ibbins is an adjuster who is retained by /\Sl as its independent appraiser /\s was stated earliei;
l\/lickey l\/lahon. a contract adjuster for /\Sl, initially inspected l\/lr. l\/loss’ claim and stated that he
found no damage due to hail. 'l`he parties began the appraisal process with each side appointing an
appraiser vl`he plaintiffs appointed l\/like f"oresman and ASI appointed Van Gibbins. Van Uibbins
had never worked for /\Sl prior to this claim. Gibbins Depo. at pp. l7-18. l\/lr. Gibbins` sole
responsibility in this case was to act as an appraiser. While the facts alleged by the plaintiffs are
sharply in dispute` nolle ofthese acts can be attributed to /\Sl and most certainly none to /\Al(`. Van
(}ibbins was an independent contractor of /\Sl and had no relationship whatsoever to /\/\l(`. But
to take the matter one step further. none of the "bad acts" which the plaintiffs allege Van Gibbins
committed constitute bad faith. l\/lr. Gibbins inspected every field, took notes and determined that
there was no damaged to l\/fr. l\/loss’ crops due to hail. Gibbins Depo. at pp. 3()-44; l\/loss l)epo. at

pp. ()l¢()3. .S'cc. Richisoir ()4 /\rk. /\pp. 271.

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fn its final accusation against /\/\l(" the plaintiffs are critical ofA/\I(` for filing a declaratory
judgment action. 'l`hroughout this litigation, the plaintiffs have alleged that /\/\l(,` committed bad
faith by filing the declaratory judgment action before "they even were advised that their claims
would be denied." See. l)laintif`f"s Answer to Interrogator'y No. l3. Now that their argument has
been shown to be factually incorr'ect. the plaintiffs change their tune. ()n Novcmber 28, 2()()5, the
plaintiffs were advised through their attorney that their claim would be denied .S'¢’v, l)erkins letter
to (libson dated November 28, 2()()5. /\/\l(` had offered to continue with voluntary. norr binding
apj')raisal as had been requested by plaintiffs and plaintiffs refused lt was obvious to the parties that
the claim was heading toward litigation and plaintiffs" refusal to enter into non-binding, voluntary
appraisal made it a certainty. Since the claim was headed for litigation, /\griServe took the initiative
and filed a deelaratoryjudgment action seeking to have the rights of the parties determined in a court
of law. vl`he plaintiffs now argue that the filing of a declaratoryjudgment action is unusual‘ and that
this is evidence of bad faith. 'l`he desire to have one`s rights determined by a court of law is neither
unusual or bad faith. l"irst l\/larine lns. (`o. v. Booth. 317 /\rk. f)l, 847 S.W. 2d 255 ( lf)f)4).

'l`he most significant omission in plaintiffs’ Response Brief is the failure to have any
meaningful discussion of whether the alleged conduct justifies instructing the jury on punitive
damages l’laintiff.s only dedicate one small paragraph to thc topic. l)laintiffs seek damage for

emotional distress" and punitive damages l)unitive damages may only be recovered after a showing

 

"l`o support this contention, the plaintiffs cite the testimony of \/an Gibbins, a contract
adjuster; who only worked on this one file for /\Sl as an appraiser

'lt should be noted that the corporation may not recover for "mental anguish"'. l"urther.
emotional suffering is usually reserved for outrage claims which have not been alleged in this

L`ilSC.

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by clear and convincing evidence that /\/\l(` intentionally and maliciously pursued a course of
conduct for the purpose of causing damage to plaintiffs /\.l\/l.l. (Civil) 2()()(), 22]8, 'l`he factual
allegations accepted as true and viewed in the light most favorable to them. do not sustain this
burden ln an attempt to clear this hurdle. the plaintiffs resort to incidents which are remote in time
and factually distinct from the case at bar. (`,onduct that does not sustain a claim of bad faith can not
support an award of punitive damages which requires a much higher burdeir of proof. /\s plaintiffs
have failed to meet this burden. partial summaryjudgment should be granted
Wl llil{l;`l"()l{li. defendant, American Alternative lirsuraircc (`ompany, prays that its l\/lotion

for l’artial Summary ludgment be granted and for all other relief to which it is entitled

Respeetfully submitted,

'l`llli l)liRKlNS l-/\W l"lRl\/l, l)./\.

G. S Brant Perkins (8()1()())

l). (). Box 4()54

Jonesbor'o. /\R 724()3*4()54
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/\ttorney for l)cfendant /\merican

/\lternative lnsurance

 

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l hereby certify that service of the above and foregoing l\/lotion for Sununary l)artial
~ludgment wasruade by mailingacopyofsametol\/lr (` (` (}ibson. lll Gibsont\ llaslrern l) l (`.
\ttorney for l’laintiffs l’ () l)rawer 447 l\/lonticello /\1kansas 7l()§5 ()447 by Uriited States l\/lail
w ith sufficient post rge to insure delivery and v ia l (l on this ._' }tlay of ()ctober 2( ()()()

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G. S. Brant l’erkins

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l\/IO'I`I()N l"OR PAR'I`l/\L SUl\/ll\/IARY JUDGl;`l\/IEN'I`
SUPl)l-El\/IEN'I`AL EXHIBIT LlS'l`

lixccrpts from Depositiorr of Van Gibbins
lixcerpts from Deposition of David Johnson.

l)efendant"s /\nswer to Plaintiffs’ Supplemental lnterrogatories No. 4.l

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JIMMY MOSS AND MOSS FARMS, INC.

V.

AMERICAN ALTERNATIVE INSURANCE
CORPORATION, et al.,

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
PINE BLUFF DIVISION

PLAINTIFF

)
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)
) Case NO.: 5:06-CV-010JLH
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DEFENDANTS

 

VIDEO DEPOSITION OF VAN GIBBONS
TAKEN MAY 9, 2006
JONESBORO, ARKANSAS

 

On Beha1f

On Behalf

APPEARANCES
of the Plaintiff:

MR. C. C. GIBSON, 111
GIBSON & HASHEM, P.L.C.
119 South Main Street
Monticello, Arkansas 71657

of the Defendant:

MR. BRANT PERKINS

THE PERKINS LAW FIRM

624 South Main, Suite 101
Jonesboro, Arkansas 72401

Also Present:

Mr. Tolly Murph, Videographer
Mr. Jimmy MoSS

B & H Reporting _ EXHIB|T
Laura D. Bowen, CCR ' d 'l

870-932-1419 _M__WA_,*

ldbowen@indco.net

 

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that?

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Page17
When I got of the Navy.
Okay. Anything else?
No.

Okay. Have you ever taken bankruptcy or anything like

No.

Okay. Uh, what is, uh, uh-~you--are you presently

employed by the insurance company?

A

A

Q

What insurance company?

Uh, ARMtech, RCI-~I mean, ARMtech, RCIF, Producers Ag,
Bureau. Those companies there that l give you.
Okay.

1 work for about five or six different companies.
And do you work for AgriServe?

ASI?

Yes, sir.

No.

Have you ever?

No, Sir.

Okay. Why not?

1 just haven't signed a contract with them.

Okay. Uh, okay. Uh, when you were working the Moss

claim, were you working for AgriServe?

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Yes, Sir.

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PagelS
Okay. So we do know you worked for them then?
Well, yeah, 1 was hired to do that claim.
Okay. Any other times that you've worked for them?
No.

And-~and how is it that you came to be hired for that?

Who hired you?

A

Q

Mr. Carl.

Carl Woodham?

Carl Woodham.

And did he do just ca11 you on the phone?

He just called and wanted to know if 1 would go down and
at it, and 1 said yes.

Okay. Did you know there was a dispute about it?
What?

Did you know there was a dispute about the claim?
Well, yes.

What--

He said--he said that, uh-~that Mickey and Mr. Moss didn't

agree and wanted me to go down and look at it.

Q Okay. And what did they not agree on? What was your
understanding?

A Percentage of loss that occurred by hail.

Q Okay. Do you know what the difference in agreement was?
A Never asked them_

Q Okay. Why?

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Page71
actually sued Mr. Moss on December the 5th of 2005. Do you
know anything about that? You don't? 1s that a no?

A That's a no.

Q Okay. Did you~~anything unusual about the insurance
company suing the farmer? Have you ever heard of that?

A 1 never have heard of it.

Q Okay. 1 want you to turn--you're at the right page. To
page 20 of Exhibit 1, that's a, uh--that's a, uh, uh, uh Dr.
Charles B. Guy, Jr. has a Ph.D. in Agronomy from the University
of Arkansas 1986, and that's his resume 1 suspect, Curriculum
Vitae. Uh, uh, do you know Dr. Guy?

A Don't know a thing about him.

Q Didn't--didn't Mr. Moss suggest him as a person to serve

as an umpire in a fair arbitration?

A Yes, sir.

Q And--and you--did you write did not approve on there?
A Yes, sir.

Q Why did you not approve?

A Uh, 1 was looking for somebody that knew a little bit

about hail and hail damage to crops, plants.

Q And, uh, uh--well, let me just ask you this way. Uh, how
do you know this Dr. Guy didn't know anything about that?

A Well, 1 talked with him. He told me he didn't.

Q Oh, he--

A He told me he had never worked hail claims.

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Page72
Q Uh-huh. 1s it important that the umpire have the ability
to work a hail claim?
A 1t helps.
Q Not required though, is it?
A Not required.
Q Mr. Grayson didn't have any, uh, hail experience, did he?
A Yes, sir.
Q Oh, he did?
A Yes, sir.
Q As a crop insurance adjuster?
A Yes, sir.
Q So really what you wanted is an umpire with somebody that

had worked for insurance companies in these fields? 1s that
about the size of it as the umpire on the arbitration?
A Not the companies. He's the--the hail--to know a little

bit about the hail.

Q And how to adjust it for an insurance company?

A Mr. Grayson didn't work for an insurance company.

Q Not at the time, but he had before, hadn't he?

A No. 1n '81, he was--he was with Federal Crop 1nsurance.
Q So he had been a Federal Crop 1nsurance adjuster in the
past?

A Yes.

Q And, uh--and--and represented the viewpoint of the

insurance company; am 1 right?

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Page73
1 A Federal crop, yeah.
2 Q Yeah, 1 understand.
3 A Yeah.
4 Q And there are insurance companies involved in that~-
5 A Yeah.
6 Q --too?
7 A Yeah.
8 Q Okay. And even though they called it Federal Crop, there
9 were insurance companies involved; am 1 right?
10 A Yes.
11 Q Okay. So Mr. Grayson was a former crop insurance adjuster
12 just like yourself?
13 A Yes, sir.
14 Q Okay. And he had been representing the interest of the
15 insurance companies in the past; is that right?
16 A A year or two.
17 Q And that's why he was acceptable to you as an umpire?
18 A Well, 1 felt like he was an honest man, and he knew what
19 he was looking at.
20 Q And he also had experience working for insurance
21 companies?
22 A Right. Correct. Yes.
23 Q And that's one of the things that's important to you?
24 A Yes, sir.

25 Q Because you didn't want somebody who had not worked in

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Page74
that field--
A That‘s right.
Q --am 1 right? As the umpire?
A That's right.
Q And, uh, is that the same reason that Judge Gibbs Fergus@n

was not acceptable, uh, uh--

A

Q

1 didn't feel like he--

-~as an umpire?

1 didn't feel like he had the experience either.
You thought he would fair and honest, didn't you?

Well, he probably be fair and honest, but what 1~-1 wasn't

satisfied with him.

Q

past;

A

Q

A

Q

Unless he had worked for the insurance companies in the
right?

No, unless he had experience in hail damage.

For insurance_-

1 didn't say-~

For insurance companies; right?

1 didn't say that.

Okay.

1 don't-_1 don't where he worked for them.

1-~1-~1 understand that. He*-he did not have the

qualification of having worked for insurance companies in the

past adjusting claims.

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1 don't know where he worked.

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Page39
A 1 don't know.
Q Did he have somebody with him?
A Yes.
Q Okay. Was he a crop consultant that had expertise in crop
damages and things of that nature?
A 1 don't know what his background was.
Q Okay. But there was somebody with Mr. Moss?
A Yes, sir.
Q Where did you meet Mr. Moss?
A Winchester Gin.
Q All right. And tell me about the conversation there at
the gin if you remember any of it.
A Well, we met there and went to the farm.
Q Okay. Well, do you remember any conversation between you
and Mr. Moss or Mr. Foresman at that time?
A Well, we just (witness inaudible) of his and went with Mr.

Foreman (sic/Foresman) and, from there, we went to the farm.

Q That was it? That's all you remember about that
conversation?

A Yeah.

Q Okay. So y'all went to the farm? Did you go in your
truck?

A 1 met him at the stop. 1 followed him out to his shop.
Q Okay. And you followed who, Mr. Moss?

A Yes, sir.

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Page40
Q And was--was Mr. Foresman with him?
A Yes, sir.
Q 1n--in Mr. Moss' truck?
A Yes, sir.
Q Okay. And you followed them in your truck?
A Yes.
Q Went to Mr. Moss' farm shop?
A Where is it?
Q Went~~y'all went to Mr. Moss'-~
A Went to his farm, yeah.
Q Mr. Moss' Farm; right?
A Right.
Q Okay. And you got out of your truck. Tell me what
happened next.
A Mr. Moss said he would show us where the strips was on the

farm, and, uh--and we got in his truck, and 1 rode with him and

Mr. Foreman (sic/Foresman).

Q Uh-huh. Do you remember any other conversations?

A Well, 1 just--it looked like it might rain and first one
thing and another. 1 don't remember everything.

Q So--so the people that went with you during your

inspection of the Moss Farm, uh, uh, hail damage claim on their
cotton crop was Mr. Moss and Mr. Foresman?
A Yes.

Q Anybody else?

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Page41
A Nobody else.
Q Were they with you the entire time that you were doing
this inspection?
A Yes, sir, because 1 was riding with them.
Q Okay. Mr. Moss and Mr. Foresman?
A Y€S.
Q Okay. And, uh, okay. And, uh, were you carrying any
equipment of any kind or anything like that with you?
A Yeah, 1 had a camera with me.
Q All right.
A And, uh, a counter that, uh~-to count the lock or the boll
or whatever.
Q 1s that a little hand clicker?
A Yeah, it's a little old hand clicker.
Q Okay. All right. Any other equipment?
A Not at that time.
Q Okay. How many places did y'all stop?
THE WITNESS: How many strips did
you leave, Mr. Moss?
BY MR. GIBSON:
Q Well, you can't ask him. 1f--
A Well.
Q --you remember, you remember. 1f you don't remember, then

you can say~-

A One or two, uh, strips in each field.

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Page42
1 Q So there was, what, around 30 fields?
2 A There was quite a few of them.
3 Q Sound about right?
4 A Yeah.
5 Q And so you went through those strips in each field?
6 A Yes, sir.
7 Q Did you skip any of them?
8 A 1f he took me to the right fields, 1 didn't.
9 Q Okay. But did you ever ride by one that was his and just
10 decide, well, we'll skip that and go to the next one?
11 A Maybe one or two~-
12 Q Okay.
13 A --where they would be just like the others.
14 Q Okay. And was his-~during the time tha: you were doing
15 this inspection, October 18th, 2005 on the Moss Farm, uh, uh,
16 was Mr. Moss' pickers picking cotton?
17 A Yes, sir.
18 Q Okay. You remember that?
19 A Yes, sir.
20 Q Okay. And, uh, uh, if you would, tell me, uh, uh-~tell me
21 the conversation that occurred during this inspection with Mr.
22 Moss and Mr. Foresman to the best of your ability.
23 A Well, we would go to those strips, and we would look at
24 the cotton, and 1'd make me some counts tha: the locks gone out

25 of the burrs, and, uh--and that was pretty well it at each

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place. When we would get through it, 1'd say, well, 1'm--1 see

what 1 need to see. Let's go, and we'd go to the next one.
Q Okay. Until you got through?

A Yes, sir.

Q Do you remember any conversation or any statements by

Jimmy Moss during that while y'all were inspecting the cotton?
A Mr. Moss had nothing to do with-~with what me and Mr.
Foreman (sic/Foresman) were looking at.

Q Okay. But--but you don't remember~~my question is you
don't remember any conversation by Mr. Moss during this

inspection of the fields?

A No, sir.

Q Am i right?

A That's right.

Q Okay. And, uh, uh, so, uh--you--were ycu and Mr. Foresman

off by yourselves or with y'all--was Mr. Moss there present?
A When 1--Mr. Foresman and 1 would get out and go in the
field, and-~and Mr. Moss would come out sometimes. Sometimes

he wouldn't.

Q Okay.
A Sometimes he'd stay at the truck.
Q Tell me about whatever cone-did you and Mr. Foresman have

a conversation about it out in the field?
A No, we would look~-look at the plants, and, uh, when we

couldn't find nothing, we-~we would move on.

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1 Q Okay. Do you remember any conversation from Mr. Foresman
2 while you were out there doing that? Anything he said?
3 A No.
4 Q Okay. All right. Y'all got through. What happened then?
5 A Went back to the shop, and we got in my car, and he went
6 in his truck, and we went back to where--Winchester Gin.
7 Q Okay. What did y'all do at the gin?
8 A We just talked about we couldn't agree what we had found.
9 Q And where--where were you when you were doing that? Out
10 in the parking lot?
11 A No, we was in the office there.
12 Q Okay. At the gin?
13 A Yes, sir.
14 Q And, uh, okay. Uh, bear with me here a second. 1'm
15 having a senior moment.
16 A Me, too.
17 Q 1 guess you're entitled to claim that. How old are you,
18 Mr. Gibbons?
19 A Seventy-three. 1'll be seventy~four in July the 22nd.
20 Q Still working a full week?
21 A Yes, sir.
22 Q Uh-huh. Good for you. Uh, hope 1 can do the same when 1
23 get to that age. Uh, do you remember anything specific about
24 the conversation there at the gin?

25 A Mr. Foreman (sic/Foresman) had a county map that he spread

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UNlTED STATES DlSTRlCT COURT
EASTERN DISTRICT OF ARKANSAS
PINE BLUFF DlVlSlON

JIMMY MOSS and MOSS FARMS, lNC.,

Plaintiff,

vs. `Case No. 5:06-cv-010 JHL

AMERICAN ALTERNATIVE lNSURANCE
CORPORATION, et al.,

~_/ \M, V \/ ~_/

Defendants,

VfDEOTAPED EVIEENCE DEP©SlTl@N CF
DAVlD F. JOHNSOJ

Videotaped Evidence deposition of
David F. Johnson taken on May 2, 2006, beginning at 9:00
a.m., at 1 Wolfe Creek Lane, Findlay, Illinois, at the
instance of the Plaintiff, pursuant to Notice and agreement
of the parties, before Daphne G. Killam, Certified
Shorthand Reporter in the State of 1llinois.

ANCHOR COURT REPORTING
P.O. BCX 25471
Decatur, 1llinois 62525#5471
217-128#0946

 

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And 1 certainly see no reason why that wouldn't apply to
that. That should be kept confidential. But 1 just don't
want to waste time on it later on.
BY MR. GIBSON:

Q. 1 saw some stuff where the FB1 was contacted.

What's that about?

A. We did not contact the FB1.
Q. Do you know anything about that?
A. 1 told Frosty that with the information that was

coming up there, that we needed probably at least get the
address from the FBI in case we had to notify them that we
thought we were dealing with a conspiracy or a fraud case
down there. And that's it.

Q. Okay. That was a cautionary instruction then,
basically, that you gave Frosty?

A. Yes.

Q. And he got the information A~ 1 mean, according to

the documents that 1've gotten indicate that Carl Woodham,

maybe, was the one that -- that provided that?
A. Yes.
Q. And that has not been pursued, right?
A. Yes.
Q. Because -~ because you all haven't found any

evidence of conspiracy or fraud, have you?

A. Not that 1'm aware of.

 

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Q. What are the reasons?
A. Well, 1 can give you -~ 1 can give an example se
Q. Please.
A. ~e of one that we arbitrated in Northern 1llinois,

and the umpire lived in Northern lllinois, and being a
pilot, 1 flew up there and picked him up and flew him over
to the arbitration site. And the umpire and the two

arbitrators ruled in our favor.

Q. Of AgriServe?

A. Yes. And the judge overturned the arbitration
because 1 went and picked the umpire up.

Q. 1n effeot, picked up the judge on the case and
brought him to the trial?

A. That's exactly right.

Q. And that's what they said about what you did?

A. That's right.

Q. Thought you were unfairly influencing the process?

A. That's exactly right. Even though we didn‘t talk

about the case, it gave the appearance that we could have.
Q. And so in 1llinois, they set it aside and let the
man have a jury trial?
A. That's exactly right. And that's what happened.
Q. All right. Short of you all making a mistake like
that, is there any other basis that you know of for setting

aside a binding arbitration deal such as what Mr. Armstrong

 

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(`omes nov\ thc defendant .»\merican ¢\lternati\c 1nsurance ('orporation thereinafter
"/\/\1( "`)_ by and through its attorney _ fhc l)crkins liav\ l~`irm_ l’. ./\.. and for its /\n.s\vers to 1’laintiffs`
Suppleinental lnterrogatories l)ropounded to l)efendant .»'\merican /\Ifernati\ c lnsurance ( `orporation_

states and alleges as follo\\s:

ll\fl`liRR()(i.»'\'l`()l{\v N()_ 1; Stzltc in dollars the total amount ofgross income reported by

 

the l)efendant, /\mcrican /\lternati\ e lnsurance ( `orporation for federal incomc ta.\ purposes and to
the Securities & lixclrange(`ommission for each ofthe follow ing years: 2005; 2004; 2003; and 2002.

ANSWliR 'l`() ll\fl`liRR()(11\'1`()1{\y \`(). 1; ()bjection. 'l`hc information requested b_\ this

 

interrogatory is not material or relevant to thc issues in this cause, is overbroad and is not v\ ithin the

scope permissible disco\'er_v. l"urther. plaintiffshould be required to make a prima facie showing

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Sce Answcrs lo lnterrogatory \os. 1. 2 and 3 abo\e. vl his interrogatory is \aguc_ overbroad and
unduly burdensome further_ said Request seeks documents that arc highly confidential_ proprietary
and not relevant to the issues presented in the case at bar.

IN'l`lfRR()(i/\'l`()RY N(). 4: l)uring the deposition ofl)a\'id ilohnson on May 2_ 2006 hc

 

made reference to an arbitration decision set aside because he flew the umpire to thc arbitration in
his private plane. State the names addresses and telephone numbers ofall persons including names
ofcounsel and their addresses and telephone numbers that were in\ ol\ ed in that arbitration and gi \ c
the name_ addresses and telephone number ofthe (`ourt 111 which said arbitration determination was
set aside as described by Mr. _lohnsorr and include the case number and ease style ofthe casc. and
the namc_ address and telephone number ofthe insurance company that had issued the insurance
policy involved and whether they are or ha\c been affiliated with you in any manner, and attach to
your responses hereto truc. correct and complete copies ofall findings of fact and conclusions oflaw
made by the (`ourt in setting aside that arbitration determination

/\NSWI{R 'l`() |N'l`l",l{l{()(i/\'l`()RY l\l().4; lt ismy understandingthat tothc best of l)avid
_lohnson`s recollection the arbitration referred to in his deposition occurred during thc 1980s in
(`arroll (`ounty` lllinois_ ./\gri-Ser\e does not ha\ c any sur\ i\ ing records on this claim. ;\/11‘. _lohnson
does not recall the name ofthe insurance company in\ol\cd or the names ofthe parties

ll\l'l`liRR()(i/\'l`()RY 1\1(). 5: llave anyotherarbitrationdeterminations involving l)cferidrrirt
and its agent /\gri~Serve_ lnc.. been attacked for fraud or other similar wrongful misconduct`.) lfso_
for all such attacks on arbitration determinations attach copies of all court findings of fact and

conclusions of law respecting same_ and for any attacks on arbitration determinations presently 111

